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                            EXHIBIT A
                          Case: 1:12-cv-07127 Document
                                                   ROBB#: EVANS
                                                          626-1&Filed: 10/03/18
                                                                 ASSOCIATES LLC Page 2 of 7 PageID #:21202
                                                                Receiver of BC Capital Group, et al.
                                           Receivership Administration Expenses and Fund Balance by Month
                                                           From Inception (September 27, 2012) to July 31, 2018




                                          Previously                                                                                               1/1/18~
                                          Reported        Jan 18      Feb 18         Mar 18          Apr 18       May 18     Jun 18     Jul 18     7/31/18       TOTAL
Fund Transferred In
   Battoo IRA                                28,640.93      0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00       28,640.93
   Concord Capital SPC                       72,000.00      0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00       72,000.00
   Dream Link Enterprises Inc.                2,500.84      0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00        2,500.84
   FuturesOne F2 Investment Ltd.              2,481.23      0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00        2,481.23
   MSSB SEP IRA C F                         141,787.45      0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00      141,787.45
   Newedge USA, LLC                       8,812,871.06      0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00    8,812,871.06
   New York Community Bank                    2,919.68      0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00        2,919.68
   Parallax Offshore Investors               60,588.61      0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00       60,588.61
   Quantitative Global 3X Fund Ltd        2,403,122.99      0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00    2,403,122.99
   Quantitative Tactical Aggressiv        3,250,909.68      0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00    3,250,909.68
   Quantsoft Advisers LP                  1,290,564.32      0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00    1,290,564.32
   Quantum Blackstar/Brown Property         280,000.00      0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00      280,000.00
   Quantum Blackstarltd SA Trust            113,896.20      0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00      113,896.20
   Reed Smith LLP IOLA                   10,981,901.91      0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00   10,981,901.91
   Wells Fargo                                8,697.12      0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00        8,697.12
   Whitebox Con Convert Arb Fund          1,169,713.37      0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00    1,169,713.37
Total Fund Transferred In                28,622,595.39      0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00   28,622,595.39

MF Global Claims
  Futuresone A Investments LMT
     Claim 100002702                       102,333.40       0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00     102,333.40
     Claim 100002709                       542,281.48       0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00     542,281.48
  Total Futuresone A Investments LMT       644,614.88       0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00     644,614.88

   Futuresone F1 Investments LTD
      Claim 100002425                         2,368.47      0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00        2,368.47
   Total Futuresone F1 Investments LTD        2,368.47      0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00        2,368.47

   Futuresone F4 Investments LTD
      Claim 100002728                      265,316.72       0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00     265,316.72
   Total Futuresone F4 Investments LTD     265,316.72       0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00     265,316.72

Total MF Global Claims                     912,300.07       0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00     912,300.07

Fund Rec'd from SEC Settlement             389,825.64        0.00         0.00           0.00            0.00         0.00       0.00       0.00        0.00     389,825.64
Interest Income                            125,029.80    2,383.92     2,436.28       2,782.40        2,964.04     3,189.36   3,403.66   3,302.68   20,462.34     145,492.14


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                                                                       ASSOCIATES LLC Page 3 of 7 PageID #:21203
                                                                     Receiver of BC Capital Group, et al.
                                                Receivership Administration Expenses and Fund Balance by Month
                                                                From Inception (September 27, 2012) to July 31, 2018




                                               Previously                                                                                               1/1/18~
                                               Reported        Jan 18      Feb 18         Mar 18          Apr 18       May 18     Jun 18     Jul 18     7/31/18       TOTAL
   Jewelry Auction Proceeds                       11,428.25       0.00         0.00           0.00            0.00         0.00       0.00       0.00        0.00       11,428.25
   Legal Retainer Refund                             857.50       0.00         0.00           0.00            0.00         0.00       0.00       0.00        0.00          857.50
   Storage Unit Auction Proceeds                   1,338.32       0.00         0.00           0.00            0.00         0.00       0.00       0.00        0.00        1,338.32
Total Funds Collected                         30,063,374.97   2,383.92     2,436.28       2,782.40        2,964.04     3,189.36   3,403.66   3,302.68   20,462.34   30,083,837.31

Expenses
  Claims Processing Expenses
     Legal Notice Advertising                    51,393.93       0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00      51,393.93
     Postage & Delivery                          11,378.78       0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00      11,378.78
     Website Support                                696.46       0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00         696.46
  Total Claims Processing Expenses               63,469.17       0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00      63,469.17

   Asset Recovery & Preservation
      Foreign Legal Fees & Costs
         Guernsey
            Babbe
               Legal Fees                      1,542,527.78      0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00    1,542,527.78
               Legal Costs                       109,726.04      0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00      109,726.04
            Total Babbe                        1,652,253.82      0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00    1,652,253.82

            Krys Global
               Fees                             191,109.22       0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00     191,109.22
            Total Krys Global                   191,109.22       0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00     191,109.22

         Total Guernsey                        1,843,363.04      0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00    1,843,363.04

         Cayman Island
            Charles Adams Ritchie & Duckworth
               Legal Fees                       37,102.71        0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00      37,102.71
               Legal Costs                          229.06       0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00         229.06
            Total Charles Adams Ritchie & Duckworth
                                                37,331.77        0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00      37,331.77

         Total Cayman Island                     37,331.77       0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00      37,331.77

         Bahamas
           Price Demers & Co.
              Legal Fees                            700.00       0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00         700.00


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                                                     Receiver of BC Capital Group, et al.
                                  Receivership Administration Expenses and Fund Balance by Month
                                                 From Inception (September 27, 2012) to July 31, 2018




                                  Previously                                                                                           1/1/18~
                                  Reported      Jan 18      Feb 18         Mar 18          Apr 18       May 18    Jun 18    Jul 18     7/31/18    TOTAL
      Legal Costs                       45.00     0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00       45.00
   Total Price Demers & Co.            745.00     0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00      745.00

   Delaney Partners
      Legal Fees                   216,937.26     0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00   216,937.26
      Legal Costs                    9,087.28     0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00     9,087.28
   Total Delaney Partners          226,024.54     0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00   226,024.54

Total Bahamas                      226,769.54     0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00   226,769.54

Monaco
  Donald Manasse
     Legal Fees                     42,511.26     0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00    42,511.26
     Legal Costs                     9,625.56     0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00     9,625.56
  Total Donald Manasse              52,136.82     0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00    52,136.82

   Maitre Geraldine Gazo
      Legal Fees                     5,026.72     0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00     5,026.72
   Total Maitre Geraldine Gazo       5,026.72     0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00     5,026.72

Total Monaco                        57,163.54     0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00    57,163.54

Harney WestWood & Riegels
  Legal Fees
     Harneys (Asia) Limited        190,936.60     0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00   190,936.60
     Harney WestWood & Riegels     237,105.00     0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00   237,105.00
  Total Legal Fees                 428,041.60     0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00   428,041.60

   Legal Costs                      69,582.58     0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00    69,582.58
Total Harney WestWood & Riegels    497,624.18     0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00   497,624.18

Deacons
   Legal Fees                        3,373.75     0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00     3,373.75
   Legal Costs                          44.52     0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00        44.52
Total Deacons                        3,418.27     0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00     3,418.27




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                                                         Receiver of BC Capital Group, et al.
                                     Receivership Administration Expenses and Fund Balance by Month
                                                     From Inception (September 27, 2012) to July 31, 2018




                                     Previously                                                                                            1/1/18~
                                     Reported       Jan 18      Feb 18         Mar 18          Apr 18       May 18    Jun 18    Jul 18     7/31/18     TOTAL

   Panama
      Patton, Moreno & Asvat
         Legal Fees                    10,000.00      0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00     10,000.00
      Total Patton, Moreno & Asvat     10,000.00      0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00     10,000.00

   Total Panama                        10,000.00      0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00     10,000.00

   United Kingdom
     Stewarts Law LLP
         Legal Fees                     2,614.61      0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00      2,614.61
         Legal Costs                       23.27      0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00         23.27
     Total Stewarts Law LLP             2,637.88      0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00      2,637.88

   Total United Kingdom                 2,637.88      0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00      2,637.88

   Anguilla
     Webster Dyrud Mithcell
         Legal Fees                     5,150.00      0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00      5,150.00
         Legal Costs                      974.77      0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00        974.77
     Total Webster Dyrud Mithcell       6,124.77      0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00      6,124.77

   Total Anguilla                       6,124.77      0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00      6,124.77

Total Foreign Legal Fees & Costs     2,684,432.99     0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00   2,684,432.99

JOL Fees & Costs
  Delaney Partners
     Legal Fees                       509,677.78      0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00    509,677.78
     Legal Costs                       12,378.56      0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00     12,378.56
  Total Delaney Partners              522,056.34      0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00    522,056.34

   Pricewaterhouse Coopers
      JOL Fees                        554,506.12      0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00    554,506.12
      JOL Staff                       302,108.63      0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00    302,108.63
      JOL Costs                       106,391.85      0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00    106,391.85
   Total Pricewaterhouse Coopers      963,006.60      0.00          0.00            0.00            0.00       0.00      0.00       0.00       0.00    963,006.60


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                                                               Receiver of BC Capital Group, et al.
                                         Receivership Administration Expenses and Fund Balance by Month
                                                          From Inception (September 27, 2012) to July 31, 2018




                                         Previously                                                                                                1/1/18~
                                         Reported        Jan 18      Feb 18         Mar 18          Apr 18       May 18     Jun 18     Jul 18      7/31/18      TOTAL

   Total JOL Fees & Costs                1,485,062.94      0.00          0.00            0.00            0.00       0.00       0.00        0.00         0.00   1,485,062.94

   BVI Judgment Costs                       13,915.50      0.00          0.00            0.00            0.00       0.00       0.00        0.00         0.00      13,915.50
Total Asset Recovery & Preservation      4,183,411.43      0.00          0.00            0.00            0.00       0.00       0.00        0.00         0.00   4,183,411.43

Receiver Fees & Expenses
   Receiver Fees
      R. Evans                               4,975.20       0.00         0.00           0.00            0.00         0.00       0.00       0.00         0.00       4,975.20
      B. Kane                              288,264.15     452.25       301.50         180.90          241.20     1,025.10   1,809.00     572.85     4,582.80     292,846.95
      K. Johnson                           141,885.90       0.00         0.00           0.00            0.00         0.00       0.00       0.00         0.00     141,885.90
      V. Miller                             30,361.05       0.00         0.00           0.00            0.00         0.00       0.00       0.00         0.00      30,361.05
      A. Jen                                87,947.55      30.15        30.15           0.00            0.00         0.00     934.65     452.25     1,447.20      89,394.75
      M. Lin                               629,501.85       0.00         0.00           0.00            0.00         0.00       0.00       0.00         0.00     629,501.85
      L. Lee                               341,629.65       0.00         0.00           0.00            0.00         0.00       0.00       0.00         0.00     341,629.65
      T. Chung                             568,086.30       0.00         0.00           0.00            0.00         0.00       0.00       0.00         0.00     568,086.30
      F. Jen                               562,538.70   1,507.50     2,261.25       2,984.85        2,291.40       180.90   2,803.95   5,668.20    17,698.05     580,236.75
      C. Callahan                              427.50       0.00         0.00           0.00            0.00         0.00       0.00       0.00         0.00         427.50
      C. DeCius                             19,701.00     180.00       414.00          27.00            0.00        99.00       0.00     198.00       918.00      20,619.00
      W. Wu                                  2,387.50       0.00         0.00           0.00            0.00         0.00       0.00       0.00         0.00       2,387.50
      N. Wolf                                  300.00       0.00         0.00           0.00            0.00         0.00       0.00       0.00         0.00         300.00
      I. Perez                                 899.20       0.00         0.00           0.00            0.00         0.00       0.00       0.00         0.00         899.20
      M. Chen                                1,359.00       0.00         0.00           0.00            0.00         0.00       0.00       0.00         0.00       1,359.00
   Total Receiver Fees                   2,680,264.55   2,169.90     3,006.90       3,192.75        2,532.60     1,305.00   5,547.60   6,891.30    24,646.05   2,704,910.60

   Receiver Expenses
      Appraisal Services                      577.50       0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00         577.50
      Bank Fees                               694.00       0.00          7.00            0.00           (7.00)      7.00       7.00      (14.00)       0.00         694.00
      Court/Document Filing Fees              325.29       0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00         325.29
      Database Consulting Services         10,135.25       0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00      10,135.25
      Investigative Search Costs            5,016.31       0.00          0.00           21.21            0.00       0.00       0.00        0.00       21.21       5,037.52
      Occupancy                                 0.00       0.00         70.87            0.00            0.00       0.00       0.00        0.00       70.87          70.87
      Office Telephone & Supplies           2,379.76       0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00       2,379.76
      Postage & Delivery                    3,372.98       0.00          2.36            0.47            0.00       0.00       0.94       51.66       55.43       3,428.41
      Subpoena & Document Reproduction      2,250.10       0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00       2,250.10
      Tax Return Preparation               18,239.47       0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00      18,239.47
      Travel Expenses                      35,240.78       0.00          0.00            0.00            0.00       0.00       0.00        0.00        0.00      35,240.78



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                                                                  Receiver of BC Capital Group, et al.
                                             Receivership Administration Expenses and Fund Balance by Month
                                                             From Inception (September 27, 2012) to July 31, 2018




                                            Previously                                                                                                1/1/18~
                                            Reported        Jan 18      Feb 18         Mar 18          Apr 18       May 18     Jun 18     Jul 18      7/31/18       TOTAL
         Website Support                        4,577.94     26.62          0.00            0.00            0.00      17.74      44.36        0.00       88.72         4,666.66
      Total Receiver Expenses                  82,809.38     26.62         80.23           21.68           (7.00)     24.74      52.30       37.66      236.23        83,045.61

   Total Receiver Fees & Expenses           2,763,073.93   2,196.52     3,087.13       3,214.43        2,525.60     1,329.74   5,599.90    6,928.96   24,882.28    2,787,956.21

   Legal Fees & Expenses
      Barnes & Thornburg LLP
         Legal Fees                           653,290.00      0.00          0.00            0.00            0.00       0.00       0.00         0.00        0.00      653,290.00
         Legal Costs                           12,144.45      0.00          0.00            0.00            0.00       0.00       0.00         0.00        0.00       12,144.45
      Total Barnes & Thornburg LLP            665,434.45      0.00          0.00            0.00            0.00       0.00       0.00         0.00        0.00      665,434.45

      Hiltz & Zanzig
         Legal Fees                           189,523.26      0.00          0.00            0.00            0.00       0.00       0.00    11,287.80   11,287.80      200,811.06
         Legal Costs                              426.42      0.00          0.00            0.00            0.00       0.00       0.00       177.30      177.30          603.72
      Total Hiltz & Zanzig                    189,949.68      0.00          0.00            0.00            0.00       0.00       0.00    11,465.10   11,465.10      201,414.78

      McKenna Long & Aldridge LLP
         Legal Fees                             2,135.70      0.00          0.00            0.00            0.00       0.00       0.00         0.00        0.00        2,135.70
         Legal Costs                              260.00      0.00          0.00            0.00            0.00       0.00       0.00         0.00        0.00          260.00
      Total McKenna Long & Aldridge LLP         2,395.70      0.00          0.00            0.00            0.00       0.00       0.00         0.00        0.00        2,395.70

   Total Legal Fees & Expenses                857,779.83      0.00          0.00            0.00            0.00       0.00       0.00    11,465.10   11,465.10      869,244.93

Total Expenses                              7,867,734.36   2,196.52     3,087.13       3,214.43        2,525.60     1,329.74   5,599.90   18,394.06   36,347.38    7,904,081.74

Fund Balance                               22,195,640.61                                                                                                          22,179,755.57




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